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                                                       U.S. Department of Justice

                                                       Nathaniel R. Mendell
                                                       Acting United States Attorney
                                                       District of Massachusetts

Main Reception: (617) 748-3100                         John Joseph Moakley United States Courthouse
                                                       1 Courthouse Way
                                                       Suite 9200
                                                       Boston, Massachusetts 02210

                                                       August 23, 2021

Jack P. DiCanio, Esq.
Michael K. Loucks, Esq.
Skadden Arps Slate Meagher & Flom LLP
525 University Avenue
Palo Alto, California 94301

          Re:       United States v. Marci Palatella
                    Criminal No. 19-10080-NMG

Dear Mr. DiCanio and Mr. Loucks:

        The United States Attorney for the District of Massachusetts ("the U.S. Attorney") and
your client, Marci Palatella ("Defendant"), agree as follows with respect to the above-referenced
case:

          1.        Change of Plea

        At the earliest practicable date, but in any event no later than August 30, 2021, Defendant
will plead guilty to Count One of the Fourth Superseding Indictment insofar as it charges
conspiracy to commit honest services mail fraud, in violation of Title 18, United States Code,
Section 1349. Defendant expressly and unequivocally admits that she committed that crime, did
so knowingly and intentionally, and is in fact guilty of that offense. The U.S. Attorney agrees to
dismiss Count Two of the Fourth Superseding Indictment following the imposition of sentence at
the sentencing hearing.

        The U.S. Attorney agrees that, based upon the information known to the U.S. Attorney's
Office at this time, no further criminal charges will be brought against the Defendant in connection
with the conduct set forth in the Fourth Superseding Indictment.

         2.        Penalties

         Defendant faces the following maximum penalties on Count One of the Fourth Superseding
Indictment: incarceration for 20 years; supervised release for three years; a fine of $250,000, or
twice the gross gain or loss, whichever is greater; a mandatory special assessment of $100;
restitution; and forfeiture to the extent charged in the Fourth Superseding Indictment.
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       3.      Fed. R. Crim. P. 11(c)(1)(C) Plea

       In accordance with Rule 11(c)(1)(C), if the Court accepts this Plea Agreement, the Court
must include the agreed disposition in the judgment. If the Court rejects any part of this Plea
Agreement, the U.S. Attorney may void the agreement and/or Defendant may withdraw from it.
Defendant may not withdraw her plea for any other reason.

        Should the U.S. Attorney void the agreement and/or Defendant moves to withdraw her
guilty plea, Defendant agrees to waive any defenses based upon statute of limitations, the
constitutional protection against pre-indictment delay, and the Speedy Trial Act for all charges that
could have been brought as of the date of this Plea Agreement.

       4.      Sentencing Guidelines

       The U.S. Attorney agrees, based on the following calculation, to take the position
at sentencing that Defendant's total offense level under the United States Sentencing
Guidelines ("USSG" or "Guidelines") is 20:

               (a)     in accordance with USSG § 2B4.1, Defendant's base offense level is eight,
                       because the offense of conviction is conspiracy to commit honest services
                       mail fraud;

               (b)     in accordance with USSG §§ 2B4.1(b)(1)(B) & 2B1.1(b)(1)(H),
                       Defendant's offense level is increased by 14, because the value of the
                       improper benefit to be conferred was more than $550,000 and not more than
                       $1.5 million; and

               (c)     in accordance with USSG § 3E1.1(a), Defendant's offense level is
                       decreased by two, because Defendant has accepted responsibility for
                       Defendant's crime.

       Defendant understands that the Court is not required to follow this calculation.

        Defendant also understands that the government will object to any reduction in her sentence
based on acceptance of responsibility, and may be released from the parties' agreed-upon
disposition in Paragraph 5, if: (a) at sentencing, Defendant (herself or through counsel) indicates
that she does not fully accept responsibility for having engaged in the conduct underlying each of
the elements of the crime to which she is pleading guilty; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice.
Defendant does not dispute the accuracy of Paragraphs 22, 31, 32, 45 through 57, 210 through 224,
299, 300, 338, and 339 of the Fourth Superseding Indictment. Defendant understands that her
failure to fully accept responsibility for such conduct will constitute a breach of this Plea



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Agreement, and that her stipulation and agreement may be used against her in the event of such
breach.

       Nothing in this Plea Agreement affects the U.S. Attorney's obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

       5.     Agreed Disposition

       Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the U.S. Attorney and Defendant agree that the
following is a reasonable and appropriate disposition of this case:

              (a)     incarceration for a period of six weeks;

              (b)     a fine of $250,000;

              (c)     24 months of supervised release, with a condition of home confinement for
                      the first 6 months of supervised release, and 500 hours of community
                      service imposed as an additional condition of supervised release; and

              (d)     a mandatory special assessment of $100, which Defendant must pay to the
                      Clerk of the Court on or before the date of sentencing.

       In addition, the parties agree jointly to recommend the following special condition of any
term of supervised release:

        During the term of supervised release, Defendant must, within six months of sentencing or
release from custody, whichever is later:

              (a)     cooperate with the Examination and Collection Divisions of the IRS;

              (b)     provide the Examination Division with all financial information necessary
                      to determine Defendant's prior tax liabilities;

              (c)     provide the Collection Division with all financial information necessary to
                      determine Defendant's ability to pay;

              (d)     file accurate and complete tax returns for those years for which returns were
                      not filed or for which inaccurate returns were filed; and

              (e)     make a good faith effort to pay all delinquent and additional taxes, interest,
                      and penalties.




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       6.      Waiver of Right to Appeal and to Bring Future Challenge

        Defendant has the right to challenge her conviction and sentence on "direct appeal." This
means that Defendant has the right to ask a higher court (the "appeals court") to look at what
happened in this case and, if the appeals court fmds that the trial court or the parties made certain
mistakes, overturn Defendant's conviction or sentence. Also, in some instances, Defendant has
the right to file a separate civil lawsuit claiming that serious mistakes were made in this case and
that her conviction or sentence should be overturned.

       Defendant understands that she has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

               a) She will not challenge her conviction on direct appeal or in any other
                  proceeding, including in a separate civil lawsuit; and

               b) She will not challenge her sentence, including any court orders related to
                  forfeiture, restitution, fines or supervised release, on direct appeal or in any
                  other proceeding, including in a separate civil lawsuit.

        The U.S. Attorney agrees not to appeal the imposition of the sentence agreed to by the
parties in paragraph 5.

         Defendant understands that, by agreeing to the above, she is agreeing that her conviction
and sentence will be final when the Court issues a written judgment after the sentencing hearing
in this case. That is, after the Court issues a written judgment, Defendant will lose the right to
appeal or otherwise challenge her conviction and sentence regardless of whether she later changes
her mind or finds new information that would have led her not to agree to give up these rights in
the first place.

       Defendant acknowledges that she is agreeing to give up these rights in exchange for
concessions the U.S. Attorney is making in this Agreement.

         The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that her lawyers rendered ineffective assistance of counsel, or that the prosecutor or a
member of law enforcement involved in the case engaged in intentional misconduct serious enough
to entitle Defendant to have her conviction or sentence overturned.

       7.      Waiver of Hyde Amendment Claim

        Defendant is aware that 111 Stat. 2440, 2520 (1997), the so-called "Hyde Amendment,"
authorizes courts in criminal cases to award to certain prevailing defendants attorneys' fees and
other litigation expenses. In exchange for concessions the U.S. Attorney made in this Plea
Agreement, Defendant voluntarily and knowingly waives any claim Defendant might assert under


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this statute based in whole or in part on the U.S. Attorney's agreement in Paragraph 1 to dismiss
Count Two of the Fourth Superseding Indictment.

       8.      Civil Liability

        This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to her criminal conduct and guilty plea to the charges
specified in Paragraph 1 of this Agreement.

       9.      Breach of Plea Agreement

         Defendant understands that if she breaches any provision of this Agreement, violates any
condition of Defendant's pre-trial release or commits any crime following Defendant's execution
of this Plea Agreement, Defendant cannot rely upon such conduct to withdraw her guilty plea.
Defendant's conduct, however, would give the U.S. Attorney the right to be released from his
commitments under this Agreement, to pursue any charges that were, or are to be, dismissed under
this Agreement, and to use against Defendant any of Defendant's statements, and any information
or materials she provided to the government during investigation or prosecution of her case—even
if the parties had entered any earlier written or oral agreements or understandings about this issue.

        Defendant also understands that if she breaches any provision of this Agreement or engages
in any of the aforementioned conduct, she thereby waives any defenses based on the statute of
limitations, constitutional protections against pre-indictment delay, and the Speedy Trial Act, that
Defendant otherwise may have had to any charges based on conduct occurring before the date of
this Agreement.

       10.     Who is Bound by Plea Agreement

         This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

       11.     Modifications to Plea Agreement

       This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.




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       If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Stephen E. Frank.

                                                    Sincerely,

                                                    NATHANIEL R. MENDELL
                                                    Acting United States Attorney


                                            By:
                                                    STEPHEN E. FRANK
                                                    Chief
                                                    Securities, Financial & Cyber Fraud Unit
                                                    JORDI DE LLANO
                                                    SETH B. KOSTO
                                                    Deputy Chiefs
                                                    Securities, Financial & Cyber Fraud Unit



                                                    JUS IN D. O'C NNELL
                                                    LESLIE A. WRIGHT
                                                    KRISTEN A. KEARNEY
                                                    IAN J. STEARNS
                                                    STEPHEN E. FRANK
                                                    Assistant U.S. Attorneys




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                        ACKNOWLEDGMENT OF PLEA AGREEMENT
                                                                                          presents my
         I have read this letter and discussed it with my attorney. The letter accurately
                                                                                          There are no
  agreement with the United States Attorney's Office for the District of Massachusetts.
                                                                                                States
  unwritten agreements between me and the United States Attorney's Office, and no United
  government official has made any unwritten promises or representations to     me in connection  with
  my guilty plea.

          I understand the crime I am pleading guilty to, and the maximum penalties for that crime.
  I have discussed the Sentencing Guidelines with my lawyer and I understand the sentencing ranges
  that may apply.

        I am satisfied with the legal representation my lawyer has given me and we have had
 enough time to meet and discuss my case. We have discussed the charge against me, possible
 defenses I might have, the terms of this Agreement and whether I should go to trial.

         I am entering into this Agreement freely and voluntarily and because I am in fact guilty of
 the offense. I believe this Agreement is in my best interest.




         I certify that Marci Palatella has read this Plea Agreement
                                                                     and that we have discussed its
meaning. I believe she understands the Plea Agreement and is
                                                                  entering into the Plea Agreement
freely, voluntarily, and knowingly,




                                                         P. DiCanio, Esq.
                                                    Michael K. Loucks, Esq.
                                                    Attorneys for Defendant

                                                    Date:       (V7 Z




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